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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

FLOYD MAY,                                   )
                                             )
                  Plaintiff,                 )
                                             )
             v.                              )       Case No. 11-cv-7503
                                             )
SYLVIA MAHONE; HOLLY LOGAN;                  )       Judge John W. Darrah
DR. IMHOTEP CARTER                           )
                                             )
               Defendants.                   )


                           MEMORANDUM OPINION AND ORDER

       Plaintiff Floyd May filed a Complaint against Defendants Dr. Sylvia Mahone,

Nurse Holly Logan, and Dr. Imhotep Carter, asserting various claims regarding the medical

treatment Plaintiff received while incarcerated in Stateville Correctional Center. 1 Defendants

moved for summary judgment on July 10, 2014. For the reasons set forth more fully below,

Defendants’ Motion for Summary Judgment [99] is granted.

                                        BACKGROUND

        The following facts are taken from the parties’ statements of undisputed material facts

submitted in accordance with Local Rule 56.1. Plaintiff Floyd May is an inmate at Stateville

Correctional Center (“Stateville”), serving a twenty-five year sentence for armed robbery.

(Dkt. 99-2, ¶ 1; Dkt. 107, ¶ 1.) Dr. Imhotep Carter was a physician at Stateville from July 2011

to May 2012. (Dkt. 99-2, ¶ 2; Dkt. 107, ¶ 2.) Dr. Sylvia Mahone was a physician at the

Northern Reception and Classification Center (the “NRC”). (Dkt. 99-2, ¶ 3; Dkt. 107, ¶ 3.)


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        Plaintiff identifies Logan as a Defendant but does not link her to any claims in his
Complaint. Plaintiff has also recently filed a separate but related action against Logan in
Case No. 14-cv-10103.
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       While incarcerated at Cook County Jail in May 2011, Plaintiff began feeling severe

symptoms of pain, sweating, and difficulty eating. (Dkt. 99-2, ¶ 22; Dkt. 107, ¶ 22.) He also had

lumps in his groin. (Id.) Plaintiff was diagnosed with stage 4 mantle cell non-Hodgkins

lymphoma and given a life expectancy of three years. (Dkt. 99-2, ¶ 24; Dkt. 107, ¶ 24.) Plaintiff

began a chemotherapy regimen at Stroger Hospital. (Dkt. 99-2, ¶ 26; Dkt. 107, ¶ 26.) The

regimen consisted of a cycle where every twenty-one days, Plaintiff would be admitted to

Stroger as an inpatient for three to five days of chemotherapy. (Id.) Plaintiff was scheduled for

eight to twelve cycles. (Id.) Plaintiff was transferred to Stateville in September 2011 after four

to six cycles of chemotherapy. (Id.)

       At the time relevant to this action, Mahone was the medical director at the NRC.

(Dkt. 99-2, ¶ 28; Dkt. 107, ¶ 28.) Inmates are first screened at the NRC when they are

transferred to Stateville. (Dkt. 99-2, ¶ 30; Dkt. 107, ¶ 30.) Mahone screened Plaintiff on

September 16, 2011. (Id.) Mahone documented Plaintiff’s lymphoma and chemotherapy

treatments and planned to admit him to the Stateville infirmary. (Id.) Mahone informed Plaintiff

that the Illinois Department of Corrections sends inmates to the hospital at the University of

Illinois at Chicago (“UIC”) and not Stroger Hospital. (Dkt. 99-2, ¶ 32; Dkt. 107, ¶ 32.)

Plaintiff’s chemotherapy treatment was transferred to UIC. (Dkt. 99-2, ¶ 35; Dkt. 107, ¶ 35.)

The treatment eliminated the cancer in Plaintiff’s lymph nodes and suppressed the disease.

(Dkt. 99-2, ¶ 41; Dkt. 107, ¶ 41.)

       Dr. Pritesh Patel was Plaintiff’s outpatient hematologist and primary oncologist at UIC.

(Dkt. 99-2, ¶ 44; Dkt. 107, ¶ 44.) Patel placed Plaintiff on a maintenance dose of a drug called

Rituximab. (Dkt. 99-2, ¶ 51; Dkt. 107, ¶ 51.) As of March 2012, Plaintiff is in remission.

(Dkt. 99-2, ¶ 60; Dkt. 107, ¶ 60.)



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                                       LEGAL STANDARD

                                    Summary Judgment Standard

       Summary judgment is appropriate when “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56. Courts deciding summary judgment motions must view facts “in the light most

favorable to the nonmoving party only if there is a ‘genuine’ dispute as to those facts.” Scott v.

Harris, 550 U.S. 372, 380 (2007). A genuine dispute as to any material fact exists if “the

evidence is such that a reasonable jury could return a verdict for the nonmoving party.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The moving party has the initial

burden of establishing that there is no genuine dispute as to material fact. Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986). If the moving party meets this burden, “[t]he nonmoving

party must point to specific facts showing that there is a genuine issue for trial.” Stephens v.

Erickson, 569 F.3d 779, 786 (7th Cir. 2009). The evidence must be such “that a reasonable jury

could return a verdict for the nonmoving party.” Pugh v. City of Attica, Ind., 259 F.3d 619, 625

(7th Cir. 2001) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).

       “A party opposing a properly supported motion for summary judgment may not rest upon

the mere allegations or denials of his pleading, but . . . must set forth specific facts showing that

there is a genuine issue for trial.” Anderson, 477 U.S. at 248. “By its very terms, this standard

provides that the mere existence of some alleged factual dispute between the parties will not

defeat an otherwise properly supported motion for summary judgment; the requirement is that

there be no genuine issue of material fact.” Id. (emphasis in original). “It is reasonable to

assume that just as a district court is not required to ‘scour the record looking for factual

disputes,’ . . . it is not required to scour the party’s various submissions to piece together



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appropriate arguments. A court need not make the lawyer’s case.” Little v. Cox’s Supermarkets,

71 F.3d 637, 641 (7th Cir. 1995) (citing Anderson v. Liberty Lobby, 477 U.S. 242, 248-49

(1986)).

                                          Local Rule 56.1

       Local Rule 56.1(a)(3) requires the moving party to provide “a statement of material facts

as to which the party contends there is no genuine issue for trial.” Ammons v.

Aramark Uniform Servs., 368 F.3d 809, 817 (7th Cir. 2004). Local Rule 56.1(b)(3) requires the

nonmoving party to admit or deny every factual statement proffered by the moving party and to

concisely designate any material facts that establish a genuine dispute for trial. See Schrott v.

Bristol-Myers Squibb Co., 403 F.3d 940, 944 (7th Cir. 2005). Pursuant to Local Rule

56.1(b)(3)(C), the nonmovant may submit additional statements of material facts that “require

the denial of summary judgment.” Local Rule 56.1(b)(3)(C) further permits the nonmovant to

submit a statement “of any additional facts that require the denial of summary judgment . . . .”

To the extent that a response to a statement of material fact provides only extraneous or

argumentative information, this response will not constitute a proper denial of the fact, and the

fact is admitted. See Graziano v. Vill. of Oak Park, 401 F. Supp. 2d 918, 936 (N.D. Ill. 2005).

Similarly, to the extent that a statement of fact contains a legal conclusion or otherwise

unsupported statement, including a fact that relies upon inadmissible hearsay, such a fact is

disregarded. Eisenstadt v. Centel Corp., 113 F.3d 738, 742 (7th Cir. 1997).

       District courts must liberally construe the pleadings of pro se litigants. Hudson v.

McHugh, 148 F.3d 859, 864 (7th Cir. 1998). This liberal construction requirement “give[s] a pro

se plaintiff a break” when his or her pleadings fail on a technicality but are otherwise

understandable. Id. However, pro se litigants “are not excused from compliance with



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procedural rules.” Pearle Vision, Inc. v. Romm, 541 F.3d 751, 758 (7th Cir. 2008). The Seventh

Circuit has “repeatedly held that district judges are entitled to insist on strict compliance with

local rules designed to promote the clarity of summary judgment filings.” Stevo v. Frasor, 662

F.3d 880, 886-87 (7th Cir. 2011). Indeed, district courts may “rigorously enforce” the

requirements of Local Rule 56.1. Sistrunk v. Khan, 931 F. Supp. 2d 849, 853 (N.D. Ill. 2013).

       If a responding party does not comply with Rule 56.,1 “additional facts may be ignored,

and the properly supported facts asserted in the moving party’s submissions are deemed

admitted.” Gbur v. City of Harvey, Illinois, 835 F. Supp. 2d 600, 606-07 (N.D. Ill. 2011).

Substantial compliance is not enough; parties must strictly comply with the rule. See Ammons,

368 F.3d at 817. Self-serving affidavits can be “a legitimate method of introducing facts on

summary judgment” and can be sufficient to thwart a summary judgment motion. Widmar v.

Sun Chem. Corp., 772 F.3d 457, 459-60, 460 n.1 (7th Cir. 2014) (citing Hill v. Tangherlini, 724

F.3d 965, 967-68 & n. 1 (7th Cir. 2013)). However, the affidavit “must be made on personal

knowledge, set out facts that would be admissible in evidence, and show that the affiant or

declarant is competent to testify on the matters stated.” Fed.R.Civ.P. 56(c)(4). “Personal

knowledge can include reasonable inferences, but it does not include speculating as to [a

defendant’s] state of mind, or other intuitions, hunches, or rumors.” Widmar, 772 F.3d at 460

(citing Payne v. Pauley, 337 F.3d 767, 772 (7th Cir. 2003)).

                                          Local Rule 56.2

       Local Rule 56.2 requires “[a]ny party moving for summary judgment against a party

proceeding pro se shall serve and file as a separate document, together with the papers in support

of the motion, a ‘Notice to Pro Se Litigant Opposing Motion for Summary Judgment’ in the

form indicated below.” N.D. Ill. L.R. 56.2. The Notice “explains the nature of a summary



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judgment motion and tells the pro se litigant what she must do to prevent summary judgment.”

Id. Defendants filed a Certificate of Service of Rule 56.2 Notice on January 27, 2014 and

certified that they mailed discovery materials to Plaintiff on January 28, 2014. (Dkt. 75, 76.)

                                            ANALYSIS

       Plaintiff alleges several violations of his Eight Amendment rights. First, Plaintiff alleges

that Mahone and Carter failed to acquire and administer cancer treatment drugs when Plaintiff

arrived at Stateville or, alternatively, failed to send him back to the Cook County Department of

Corrections for cancer treatment. Second, Plaintiff alleges that Defendants failed to acquire and

administer his prescribed cancer medication in a timely and reasonable manner. Third, Plaintiff

alleges that the Defendants failed to seek authorization for stem-cell treatments. Fourth, Plaintiff

alleges that Defendants rejected and/or failed to accept medication from the treating hospital

while failing to provide a reasonable and timely alternative. Fifth, Plaintiff alleges that

Defendants failed to ensure that Plaintiff was sent to his hospital appointments on a timely basis.

Sixth, Plaintiff alleges that Defendants failed to follow the instructions of his oncologist when he

developed a fever. And last, Plaintiff alleges that his inadequate medical care was provided in

retaliation for filing grievances and lawsuits.

       As an alternative basis for several of these claims, Plaintiff argues that Defendants’

actions also violated the Americans with Disabilities Act, 42 U.S.C. § 12111 et seq., the

Rehabilitation Act, 29 U.S.C. § 701 et seq., and constitute malpractice under Illinois state law.

Plaintiff does not cite to specific portions of the Americans with Disabilities Act or the

Rehabilitation Act that Defendants have violated or provide any support for such violations.

Additionally, Plaintiff has not provided a medical report or an attorney affidavit indicating that

he consulted with a healthcare professional about the case and that a reasonable and meritorious



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claim exists, as required by the Illinois Healing Arts Malpractice Act. See 735 ILL. COMP. STAT.

5/2-622(a)(1). Failure to provide these materials is grounds for dismissal. 735 ILL. COMP. STAT.

at 5/2-622(g). Moreover, as of March 2012, Plaintiff’s cancer is in remission, (Dkt. 99-2, ¶ 60;

Dkt. 107, ¶ 60), which would appear to negate any negligence claim. Regardless, Plaintiff has

not demonstrated “the proper standard of care against which the defendant physician's conduct is

measured; an unskilled or negligent failure to comply with the applicable standard; and a

resulting injury proximately caused by the physician's want of skill or care.” Purtill v. Hess, 111

Ill.2d 229, 241-42 (1986). Plaintiff has failed to establish any factual issue regarding his

medical malpractice claim. To the extent that Plaintiff’s Complaint claims violations of the

Americans with Disabilities Act, the Rehabilitation Act, and Illinois malpractice and negligence

laws, Defendants’ Motion for Summary Judgment is granted.

       Therefore, only Plaintiff’s Eighth Amendment claims must be addressed. “Prison

officials violate the Eighth Amendment's proscription against cruel and unusual punishment

when they display ‘deliberate indifference to serious medical needs of prisoners.’” Greeno, 414

F.3d at 652-53 (quoting Estelle, 429 U.S. at 104). Plaintiff must satisfy two elements to prove a

deliberate indifference claim: one objective and one subjective. McGee v. Adams, 721 F.3d 474,

480 (7th Cir. 2013). For the objective element, Plaintiff must show that he had an objectively

serious medical need. Id. “A medical need is considered sufficiently serious if the inmate's

condition has been diagnosed by a physician as mandating treatment or is so obvious that even a

lay person would perceive the need for a doctor's attention.” Gomez v. Randle, 680 F.3d 859,

865 (7th Cir. 2012) (quoting Roe v. Elyea, 631 F.3d 843, 857 (7th Cir. 2011)). For the subjective

element, Plaintiff must show that Defendants “were aware of his serious medical need and were

deliberately indifferent to it.” McGee, 721 F.3d at 480. “Whether a medical condition is



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‘serious’ and whether a defendant was ‘deliberately indifferent’ to it are fact questions, to be

resolved by a jury if a plaintiff provides enough evidence to survive summary judgment.”

Gayton v. McCoy, 593 F.3d 610, 620 (7th Cir. 2010) (citing Hayes v. Snyder, 546 F.3d 516, 523

(7th Cir.2008)). There is no dispute that Plaintiff’s medical condition is serious.

       Deliberate indifference requires more than negligence or even malpractice. Duckworth v.

Ahmad, 532 F.3d 675, 679 (7th Cir.2008). “The federal courts will not interfere with a doctor's

decision to pursue a particular course of treatment unless that decision represents so significant a

departure from accepted professional standards or practices that it calls into question whether the

doctor actually was exercising his professional judgment.” Pyles v. Fahim, No. 14-1752, 2014

WL 5861515, at *5 (7th Cir. Nov. 13, 2014) (citing Roe, 631 F.3d at 857; Sain v. Wood, 512

F.3d 886, 895 (7th Cir. 2008)). “[A]n inadvertent failure to provide adequate medical care

cannot be said to constitute an unnecessary and wanton infliction of pain or to be repugnant to

the conscience of mankind.” (Internal quotations omitted.) Estelle v. Gamble, 429 U.S. 97, 105-

06 (1976).   Further, even if a defendant recognizes a substantial risk, they are free from liability

if they ‘responded reasonably to the risk, even if the harm ultimately was not averted.’ Gayton,

593 F.3d at 620 (quoting Farmer v. Brennan, 511 U.S. 825, 843 (1994)).

                                        Medication Claims

       Plaintiff alleges that Mahone and Carter failed to acquire and administer cancer treatment

drugs and that Defendants rejected and/or failed to accept medication from the treating hospital,

while failing to provide a reasonable and timely alternative. Defendants repeatedly and

inexplicably claim the Plaintiff lacked personal knowledge of whether or not he received his

medication. (Dkt. 119; Dkt. 109, ¶¶ 63, 65, 69.) Defendants also argue that Mahone received

and ordered the medication and cite to ¶ 38 in their Statement of Facts to support the argument.



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However, ¶ 38 does not say anything about ordering medication, nor do Defendants’ ever assert

in their Statement of Facts anything about Mahone ordering medication. 2

       However, Plaintiff does not provide facts showing that failing to provide medication was

anything more than an inadvertent failure to provide adequate medical care. An inadvertent

failure to provide medical care does not rise to the level of deliberate indifference. See Estelle,

429 U.S. at 105-106. Patel did answer yes when asked if delay or lack of providing oral

medications or injections could affect blood counts and potentially affect whether Plaintiff could

receive chemotherapy. (Dkt. 99-7, p. 51:29-34). But Plaintiff’s accusations that this was

purposeful or deliberately indifferent are based on hearsay or purported information of which

Plaintiff would not have personal knowledge. 3 Therefore, they cannot be considered as facts for

summary judgment. See Widmar, 772 F.3d at 459-60. Plaintiff cites Ralston v. McGovern, 167

F.3d 1160 (7th Cir. 1999), for the proposition that interfering with a cancer patient’s treatment is

inherently “barbarous.” However, in that case, a prison guard deliberately refused to give an

inmate pain medication prescribed by the prison doctor for cancer treatment side effects.

Ralston, 167 F.3d at 1162. Again, Plaintiff has not shown that any failure to provide medication

was deliberate; therefore, Ralston is inapposite.

       2
          Plaintiff correctly points out that Defendants make several assertions in the
Memorandum of Law supporting the Motion for Summary Judgment which are not supported by
their Statement of Facts. Those arguments will not be considered. Defendants also support
arguments with inaccurate citations to their Statement of Facts. Those arguments will be
considered, but Defendants are cautioned to be more careful in the future.
        3
          As discussed above, Rule 56 requires that an affidavit “must be made on personal
knowledge, set out facts that would be admissible in evidence, and show that the affiant or
declarant is competent to testify on the matters stated.” Fed.R.Civ.P. 56(c)(4). And personal
knowledge cannot include speculation as to state of mind or other intuitions, hunches, or rumors.
Widmar, 772 F.3d at 460 (citing Payne v. Pauley, 337 F.3d 767, 772 (7th Cir. 2003)). Plaintiff
has submitted a forty-page affidavit that contains numerous violations of this rule. For example,
Plaintiff repeatedly claims that Defendants were purposefully mistreating him, and hoping that
he would die, because they were afraid that previous negligence would “come back to haunt
them.” This is speculation as to the Defendants’ state of mind.
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       Plaintiff has not shown that there is a genuine factual dispute on Plaintiff’s claim

regarding deliberate indifference as to his medications.

                                      Hospital Appointments

       Plaintiff alleges that Defendants failed to ensure that he was transported to hospital

appointments in a timely manner. Specifically, Plaintiff alleges that Mahone caused a one-day

delay in his first chemotherapy appointment after he was transferred to Stateville. Again,

Plaintiff has not provided facts showing that this delay was anything more than an inadvertent

failure to provide adequate medical care, which does not rise to the level of deliberate

indifference. See Estelle, 429 U.S. at 105-106. An unexplained delay may support a deliberate

indifference claim if a physician is aware of the severity of a problem and refuses to authorize

treatment. McGowan v. Hulick, 612 F.3d 636, 640 (7th Cir. 2010). Here, it is uncontested that

Mahone did arrange for Plaintiff to receive his treatment, but this was achieved one day later

than previously scheduled.

       Plaintiff also alleges that Carter refused to send Plaintiff for his chemotherapy

appointment on October 3, 2011. However, Plaintiff does not provide proper factual support for

this statement. Plaintiff’s Exhibit 2 shows Carter’s signature on a page marked “Final Report,”

but this page does not contain any dates for future appointments. (Dkt. 82, Exh. 2.) Plaintiff’s

Exhibit 3 appears to be a medical record indicating that Plaintiff missed an appointment on

October 3, 2011. (Dkt. 82, Exh. 3.) There is no indication that the appointment was for

chemotherapy, and Plaintiff does admit that he went to his next chemotherapy appointment on

October 17, 2011, and returned October 22, 2011. There is also nothing in those records to

document that Carter prevented Plaintiff from attending the appointment. Plaintiff has not

shown deliberate indifference on the part of the Defendants.



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        Plaintiff has not shown there is a genuine factual dispute on Plaintiff’s claim regarding

hospital appointments as acts of deliberate indifference.

                                                 Fever

        Plaintiff alleges Defendants failed to follow the instructions of his oncologist when he

developed a fever. Specifically, Plaintiff alleges that Defendants failed to rush him to the

emergency room when he had a neutropenic fever in excess of 103 degrees on October 1, 2011.

While Plaintiff states in his affidavit that Carter was aware the oncologist instructed the Plaintiff

to be rushed to the emergency room if a fever occurred, there are no facts showing that Carter

was aware of the fever until October 3, 2011. Plaintiff has not properly shown facts to rebut

Carter’s statement that the first time he encountered Plaintiff was on October 3, 2011, after the

fever. (Dkt. 99-6, p. 13:18-25.) Plaintiff does not allege any facts linking this claim to Mahone.

        Plaintiff also contends that Defendants were not experts in cancer or blood diseases and,

therefore, cannot know what reasonable care for him is in this situation. However there is no

single, proper way to practice medicine in a prison but “a range of acceptable courses based on

prevailing standards in the field.” Jackson v. Kotter, 541 F.3d 688, 697 (7th Cir. 2008) (citing

Snipes v. DeTella, 95 F.3d 586, 592 (7th Cir. 1996)). Plaintiff has not shown that the treatment

he received in prison for his fever was not within the range of acceptable courses. Further, while

it is undisputed that neither Carter nor Mahone are oncologists, Plaintiff cites to no authority for

the proposition that treating doctors must be experts in particular diseases to determine

reasonable care, in this case, for treating Plaintiff’s fever.

        Plaintiff has not shown that there is a genuine factual dispute on Plaintiff’s claim that the

Defendants’ treatment of his fever constituted deliberate indifference.




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                                        Stem Cell Transplant

       Plaintiff alleges that Defendants were aware of Patel’s recommendation for a stem cell

transplant and purposefully did not seek authorization. Patel’s notes state, “we would continue

to consider/recommend this treatment if permitted by prison authorities.” (Dkt. 84, Exh. 1, p.3.)

However, Patel himself indicated that he did not remember contacting Defendants about

performing a stem-cell transplant procedure. (Dkt. 110, ¶ 54.) Mahone did not remember being

contacted by Plaintiff’s oncologists about a recommendation for stem cell transplantation. (Dkt.

99-2, ¶ 37.) Plaintiff disputes this; but his citations to the record do not support Plaintiff’s

assertions, as it mischaracterizes Mahone’s testimony. Plaintiff’s cited exhibits are either

medical history prior to when Mahone was his treating physician or do not involve a stem cell

transplant recommendation. Mahone stated that she knew about a referral for a bone marrow

transplant evaluation, which she arranged. (Dkt. 99-5, p. 74:22-75:8.) It is undisputed that

Carter never spoke with any of Plaintiff’s physicians at UIC. (Dkt. 99-2, ¶ 70; Dkt. 107, ¶ 70.)

       Even if Defendants were aware that Patel had recommended a stem cell transplant, Patel

opined that oncologists would believe that maintenance therapy with Rituximab was reasonable.

(Dkt. 110, ¶ 57). Plaintiff, however, contends that Patel determined maintenance therapy was

reasonable only “in light of the fact that there was no other medical choice.” (Id.). But

Plaintiff’s citation to the record does not support Plaintiff’s contention. Patel did mention

“constraints” but was referring to his own medical decision making and not whether the course

of treatment chosen by Defendants was reasonable. (Dkt. 99-7, p. 23:13-16). “[P]rison doctors

may exhibit deliberate indifference to a known condition through inaction, or by persisting with

inappropriate treatment.” (Internal citations omitted.) Jones v. Cullinan, No. 09-CV-03916,

2013 WL 1340405, at *4 (N.D. Ill. Mar. 31, 2013). But the maintenance treatment Plaintiff



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received was within the range of appropriate treatment. “What we have here is not deliberate

indifference to a serious medical need, but a deliberate decision by a doctor to treat a medical

need in a particular manner.” Snipes v. DeTella, 95 F.3d 586, 591 (7th Cir. 1996).

        Plaintiff again argues that Defendants were not experts in cancer or blood diseases and,

therefore, cannot know what reasonable care for him is in this situation. However, when all facts

are considered, Patel, who is Plaintiff’s oncologist and hematologist, indicated maintenance

treatment with Rituximab was reasonable, not inappropriate. And Plaintiff has offered no

medical testimony or other evidence to the contrary. Therefore, it cannot be said that

Defendants’ conduct was such a departure from accepted professional standards or practices that

it called into question whether they were actually exercising professional judgment.

        Plaintiff has not shown that there is a genuine factual dispute on Plaintiff’s claim that the

failure to provide a stem cell transplant constitutes deliberate indifference.

                                          Retaliation Claim

        Plaintiff also claims that adverse medical actions were taken against him in retaliation for

his filing of grievances and lawsuits. However, his only support for this proposition comes from

his own affidavit, and the supporting statements are speculation “as to [a defendant’s] state of

mind, or other intuitions, hunches, or rumors.” Widmar, 772 F.3d at 460 (citing Payne v. Pauley,

337 F.3d 767, 772 (7th Cir. 2003)). Further, the support Plaintiff provides for his retaliation

claim merely restates the allegations of his pleading, which is inadequate to defeat summary

judgment. See Anderson, 477 U.S. at 248. Plaintiff has not shown that there is a genuine issue

of material fact as to his retaliation claim. See Id.




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                                        CONCLUSION

        For the reasons set forth above, Defendants’ Motion for Summary Judgment [99] is

granted. Judgment is entered in Defendants’ favor, and the civil case is closed.




Date:         February 11, 2015                /s/
                                                     JOHN W. DARRAH
                                                     United States District Court Judge




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